Cqse 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 1 of 36

/
\ ‘ 2

x
¢, »'

Commonwealth of Massach usetts
MIDDLESEX SUPERIOR COURT DEPARTMENT
THE TRIAL COURT
WOBURN

MIDDLESEX, SS. SUPERIOR COURT DEPARTMENT
CIVIL ACTION NO. 1681CV00198

STEVEN SERABIAN,

Plaintiff,

SAP AMERICA, INC.,

Defendant,

REMOVAL TO U.S. DISTRICT COURT

 

Case 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 2 of 36

 

 

t ,l `
CoMMoNWEALTH oF MAS sACHUSETTs
MIDDLESEX, Ss sUPERroR COURT
erVEN sERABIAN,
Plaintiff, `
v. v CIVIL ACTroN; 2016-Cv-00198
sAP AMERICA, lNC.,

 
  
 

Defendant. l wants news
CL§::'§{§'§ 9

‘ ratio

    

 

 

  

Fonna=st:r€»‘=ar . _. warsaw
MAR 14 Z§l£

NOTICE OF FILING 1 ' l s
NOTICE OF REMOVAL TO FEDERAL COUR§[` r%£%:®{®/I -
i“ cLERK

PLEASE TAKE NOTICE that a Notice of Rernoval of the above captioned matter from

 

 

the Superior Court of the Commonwealth of Massachusetts, Middlesex County, Was filed by the
Defendant, SAP America, Inc. on March lO, 2016 in the United States District Court for the
District of Massachusetts. A' copy of the Notice of Removal is attached hereto as Exhibit A.
PLEASE TAKE FURTHER NOTICE that pursuant to 28 U.S.C. §l446(d), the filing of
the Notice of Removal, together With the filing of this Notice of Filing Notice of Rernoval,
effects the removal of the action to the United State District Court. Accordingly, this matter no

longer may proceed in this Court unless and until the United State District Court remands the

matter.

DATED: March 10, 2016

 

Case 1:16-cv-1050l-D.]C Document 5 Filed 03/17/16 Page 3 of 36

f t

Respectfully Submitted,
SAP America, lnc.,
By its attomeys,

{/`M/L

BrlY§yn L.’Roberts (BBo# 638079)
Je ifer L. Mikels (BBO # 682199)
DUANE MORRIS LLP

100 High Street, Suite 2400

Boston, MA 02110-1724

Telephone: 857 488 4200

Fax: 857 488 4201
prich@duanemorris.com
jlmikels@duanemorris.com

Certificate of Service
l, Bronwyn L. Roberts, counsel for the Defendant, SAP America, Inc., hereby

certify that on this lOth day of March, 2016, l served a true and accurate copy of the

foregoing document on the Plaintiff’s counsel of record:

Philip J. Gordon, Esq.
Kristin l\/l. Hurley, Esq.
Gordon LaW Group, LLP

585 Boylston Street
Boston,MA 02116 g f
/ '/`/\

B{ol§vyn L. Rbberts

 

Case 1:16-cv-1050l-D.]C Document 5 Filed 03/17/16 Page 4 of 36

t t

EXHIBIT A

 

Case 1:16-cv-1050l-D.]C Document 5 Filed 03/17/16 Page 5 of 36

( Case 1:16-cV-10501 Documentl Filed 03/10/16 Page 1(\_5

UNITED STATES DISTRIC'_l` COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

 

 
  

 

 

STEVEN sERABIAN, § er l L 5 g
Plalntlff, lN THE UF§:.K:_E_: w -- -\ »R_
v. oler ACTION; Cteea id
FORWCFF°F, .. ;' ;-L§§S@(
sAP AMERICA, INC., l MAR 1 4 235
Defendant. : aj

 

 

NOTICE OF REMOVAL

Pursuant to 28 U.S.C. §§ 1332, l44l, and 1446, SAP America, Inc. (“SAP”) hereby gives
notice of the removal of this action, Which is currently pending in the Superior Court of
Massachusetts in Middlesex County, to the United States District Court for the District of
Massachusetts, captioned Steven Serabian v. SAP America, Inc. Civil Action No. 1681-CV-

00198. As grounds for removal, SAP avers as folloWs:

l. SAP removes this case on the basis of diversity jurisdiction because there is
complete diversity of citizenship among the parties to this litigation, and the amount in
controversy exceeds $75,000 exclusive of interest and costs. S_eQ 28 U.S.C. § l332(a)(l) (“[t]he
district courts shall have original jurisdiction of all civil actions Where the matter in controversy
exceeds the sum or value of $75,000, exclusive of interest and costs, and is between citizens of

different states.”).
BACKGROUND

2. On or about January 26, 2016, Plaintiff Steven Serabian (“Plaintiff’) filed a

Complaint (the “Complaint”) in the Massachusetts Superior Court for Middlesex County.

 

Case 1:16-cv-1050l-D.]C Document 5 Filed 03/17/16 Page 6 of 36
f Case 1116-cv-10501 Documentl Filed 03/10/16 PageZ('

3. The Complaint purports to assert claims against SAP for (i) failure to pay Wages '
pursuant to G.L. c. 149 section 148, (ii) breach of contract, (iii) breach of the implied covenant of
good faith and fair dealing, (iv) unjust enrichment; and (v) retaliatory termination in violation of

G.L. c. 149, section 148A.`

TIMELINESS OF REMOVAL

4. On February 12, 2016, Plaintiff"s counsel served a copy of the Complaint, the
Civil Action Cover Sheet, and the Superior Court Tracking Order of counsel for Defendant via

electronic mail.

5. This Notice of Removal is timely in that it is filed Within 30 days from the date
counsel Was served With a copy of the Complaint.1 See 28 U.S.C. §§ 144l(e), l446(b); see also
Murphy Bros., Inc. v. Michetti Pipe Slringing, Inc., 526 U.S. 344, 348 (1999) (rernoval period is

triggered by 'service).
DIVERSITY OF CITIZENSHIP

6. Complete diversity of citizenship exists in this matter because the parties are

citizen of different states. See 28 U.S.C. § 1332(a).

7. Pl_aintiff lives in Massachusetts. See Compl. 1[ 1. He is therefore a citizen of

Massachusetts for diversity purposes

8. rfhe Complaint alleges that SAP is headquartered in Nevvtown Square,
Pennsylvania. See Compl. ‘“ 2. SAP is, and at all times alleged in the Complaint Was, a
corporation organized under the laws of the State of DelaWare With its principal place of business

in NeWtoWn Square, Pennsylvania. See Declaration of Mary Beth Hanss, attached hereto as

 

‘ A summons has never been served on SAP.

 

Case 1:16-cv-1050l-D.]C Document 5 Filed 03/17/16 Page 7 of 36
/ ,
l Case 1:16-cV-10501 Document 1 Filed 03/10/16 Page 3(_ 5

Exhibit 1. SAP is therefore a citizen of Delaware and Pennsylvania for diversity purposes. §

28 U.s.C. § 1332(¢)(1).
AMoUNT IN CoNTRovERsY

9. Based on the Plaintiff" s allegations, the amount in controversy in this case
exceeds the jurisdictional minimum of $75,000 required for diversity jurisdiction pursuant to 28

U.s.c. § 1332.

10. Plaintiff’s alleged claims for damages, Which SAP disputes, exceed Well over
$75,000. According to the Complaint, SAP owes Plaintiff for $l 17,869 for commissions
allegedly due in November/December 2015, “as Well as $796,834 in additional commissions”

See Compl. P. l (Introduction). '

ALL PROCEDURAL PREREOUISITES TO REMOVAL
HAVE BEEN MET
11. .Pursuant to 28 U.S.C. § l44l(a) and 28 U.S.C. § l446(a), SAP is filing this

Notice of Removal in the federal district court embracing the state court Where the Complaint

Was filed.

12. Pursuant to 28 U.S.C. § l446(a), SAP attaches all process, pleadings and orders
that have been filed, served or received by SAP in this action as Exhibit 2. See 28 U.S.C. §

1446(3).

13. Pursu'ant to 28 U.S.C. § 1391, venue is proper in the United States District Court
for the District of Massachusetts, as the Complaint in this action Was filed in the Superior Court

for the Commonwealth of Massachusetts, Middlesex County.

 

Case 1:16-cv-1050l-D.]C Document 5 Filed 03/17/16 Page 8 of 36
/ ,
l Case 1:16-cv-10501 Documentl Filed 03/10/16 Page 4(\ 3

14. SAP Will give Written notice of the filing of this Notice of Removal to all other
parties, and Will file a copy of this Notice of Removal With the Clerk of the Massachusetts

Superior Court for Middlesex County, as required by 28 U.S.C. § 1446(d).

15. In removing this action, SAP does not intend to Waive any rights or defenses to

Which it is otherwise entitled to under the Federal Rules of Civil Procedure.

16. Based upon the foregoing, this Court has jurisdiction over this matter, and the

claims properly are removed to this Court.

WHEREFORE, SAP respectfully requests that this action proceed in the United

States District Court for the District of Massachusetts, as an action properly removed thereto.

SAP AMERICA, INC.,
By its attorneys,

/S/ Bronwvn L. Roberts

Bronwyn L. Roberts (BBO #638079)
Jennifer L. Mikels (BBO #682199)
Duane Morris LLP

100 High Street, Suite 2400

Boston, MA 02110

(857) 488-4200 (phone)

(857) 488-4201 (fax)
blroberts@duanemorris.com
jlmikes@duanemorris.com

DATED: l\/larch lO, 2016

 

Case 1.:16-cv-1050l-D.]C Document5 Filed 03/17/16 Pagerf36
f Case 1:16-cv-10501 Documentl Filed 03/10/16 Page5‘l _>

CERTIFICATE OF SERVICE

I hereby certify that this document, filed through the ECF system, Will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies Will be sent out to those indicated as non-registered participants on this 10th day of

March, 2016.

/S/ Bronwvn L. Roberts
Bronwyn L. Roberts

 

Case 1: 16- -C\/- 10501- D.]C Document 5 Filed 03/17/16 Page 10 of 36
( ,ase 1:16-0\/-10501 Document1-1 Fi\ed 03/10/16 Page 1 f

EXHIBIT 1

C:\Users\mxm145\Deskt0p\Exhibit l .docx

 

Case 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 11 of 36

t ii f
./

COMMONWEALTH OF MASSACHUSETTS

 

 

 

 

MIDDLESEX, Ss sUPEnroR COURT
sTEvEN sERABIAN
Piaimiff,
Civil Action No. l grid l 9&_~1
V. """"““‘----»-...1.1,1._________
§ 111 r1 Fz"' E D
x 4¢:_'1'11 .
SAP AMERICA, INC. 1 111 111 5“§1?1:§*? '
3 "m'zTME-FF‘LI_";F -;-[1__:,.~. j;.:}l:;SEX
Defendant ‘t JH.N 2 6 2016
" ` /¢;’,1§ 11~"”_,@/
CoMPLAINT §§ M%~ 3

Jn `¢__‘

This is a complaint for unpaid wages arising out of defendant’s failure to pay plaintiff
commissions that were definitely determined and due and payable, and for retaliation because
plaintiff was terminated when he requested his pay. Plaintiff has satisfied the statutory
prerequisites to suit, and this action is timely commenced

INTRODUCTION

Plaintiff Steven Serabian (“Mr. Serabian”) is a former high-level employee of defendant,
SAP America, Inc. (“SAP”), who was paid based on commissions In November 2014, $235,738
in commissions had become definitely determined and due and payable to Mr. Serabian. SAP
confirmed it in Writing, and then informed Mr. Serabian that the commissions would be paid in
- two installments rather than one, with half in November 2014 and half in November 2015.

Mr. Serabian received the first half of the $235,738 commission in December 2014, b_ut
this past November/December he did not receive the second half. This action is commenced to
recover that second half - or $117,869 - as well as $796,834 in additional commissions from

earlier sales for which SAP failed to pay, many of Which are also confirmed by email from l\/Ir.

 

Case 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 12 of 36

rr‘j ( (

Serabian’S compensation executives as being due and payable, along with treble damages and

attorneys’ fees thereon pursuant to G.L. c. 149, § 15().

.F
.5 -

' Much of these commission confirmations come as a result of communications between
Mr. Serabian and his compensation executives concerning SAP’s commission plans and their
failure to pay compensation Yet, after finally validating that it owed Mr. Serabian his
commissions in September 2014, SAP then informed Mr. Serabian in October that he would be
terminated As a result, this action also seeks to recover for the unlawful retaliation resulting
from Mr. Serabian asserting his rights under the Wage Act regarding his commissions
PARTIES, JURISDICTION AND VENUE

l. Mr. Serabian is an individual residing in the Commonwealth of Massachusetts, in
the town of Acton, Middlesex County, Massachusetts.

2. Defendant, SAP is a corporation headquartered in Newtown Square,
Pennsylvania, and with an office loacted in Burlington, Massachusetts.

3. This Court has jurisdiction over this matter, and this county is a proper venue
pursuant to G.L. c. 223, § l and G.L. 223A, § 2.

EXHAUSTION OF ADMINISTRATIVE REMEDIES

4. Pursuant to the state law requirements as set forth in Massachusetts General Law

Chapter 149 § 150, the Plaintiff has filed his statutory claims with the Office of the Attorney

General.

5. Plaintiff filed a Non-Payment of Wage and Workplace Complaint Form with the

Attomey General’s office on January 22, 2016.

 

Case 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 13 of 36

. ” ( (

FACTUAL ALLEGATIONS

6. l\/Ir. Serabian began his career in the CRM software industry in 1992 and has been
in account management sales roles for the last 20 years. Besides SAP, he has sold for four pre-
IP() and public CRl\/I software companies over that timeframe with great success. During this
time period, Mr. Serabian has been a valued individual contributor and recognized for both
national and regional sales achievements He has never been fired from any of the sales position
he has held

7. Mr. Serabian started his employment at SAP on February 14, 2011. During the
interview process, it was communicated to Mr. Serabian that his annualized sales plan would
include $110,000 in base pay with an additional “at-plan” $150,000 variable pay incentive
component that, combined, comprised his annualized S260,000 compensation plan.

8. Mr. Serabian held the following positions and corresponding titles during his
tenure at SAP: 2/4/11-12/31/11 (Specialist lV Product Sales; CRM Sales Specialist, Line of
Business Solutions), 1/1/12-12/31/12 (CRM Solution Account Executive; CRl\/l Account
Executive', Line of Business Solutions), 1/1/13-12/31/13 (CRM Cloud Account EXecutive;
Strategic Account EXecutive', SAP Cloud Customer) and 1/1/14 ~ 11/21/ 14 (Cloud LOB Account
Executive; Strategic Account Executive, SAP Customer Engagement and Commerce).

9. During Mr. Serabian’s lirst two years of employment at SAP, the salesforce was
organized into two primary sales roles. The first role was referred to as a GCO Account
Executive, and the second as a Co-Prime Sales Specialist. GCO Account Executives were
responsible for a handful of accounts, with overall account responsibility, and were compensated
on all SAP/Partner products sold into an account. The Co-Prime Sales Specialist role was

responsible for a special set of products sold into an account, and were assigned sales quota for a

 

Case 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 14 of 36

.»`r 1

sales region consisting of multiple GCO Account Executives. Like other software companies,
Co-Primes were responsible for and compensated on the sales quota number across an entire
sales region. Co-Primes could lead, co-lead or just be aware of sales opportunities in their
territory. While varying levels of effort were expended, compensation was paid out on all deals
in the territory regardless

10. During FYll and FY12, Mr. Serabian Was responsible for primarily selling
SAP’s OnPremise CRl\/l Software and Partner Solution Extension products In 2012, SAP
ramped up their Cloud based CRM and ERP product sales to the market A separate and
additional Cloud Co-Prime Sales team was put in place to do so. This Cloud Co-Prime sales
team had minimal experience selling CRl\/l products Given this and the very limited success
that this team had selling Cloud based CRl\/[ products in 2012, SAP established a Cloud CRM
SWAT team in 2013. This third sales role Was staffed with individuals that had a rich heritage of
selling both OnPremise and Cloud based CRl\/l to strategic accounts at the executive level. Mr.
Serabian was heavily recruited by SAP sales management to join this team and did so in 2013
because of his CRM sales acumen and recognized success selling Cloud and OnPremise CRl\/l
both at Oracle and SAP.

11. While employed at SAP, Mr. Serabian’s performance was reviewed twice
annually with the exception of his last year in FY14 where no performance reviews were done.
Mr. Serabian fully met expectations for his performance ratings in FYll and FY12 while being
the only team member to receive the highest “extraordinary” performance rating in FY13. He
Was 243% of sales quota in FYl 1, 91% of sales quota in FY12 and 253% of sales quota in FY13.
This performance was recognized by SAP with winners circle sales club attainment in FYll and

top performers winners circle attainment in FY13.

 

- Case 1:16-cv-10501-D.]C Document5 Filed 03/17/16 Page 15 of 36

t t

12. In FYl l , Mr. Serabian was recognized by his manager as “a top performing CRM
Co-Prime and a role model for the position”.

l3. In FYlZ, l\/lr. Serabian was recognized by his manager as having “a well
established brand that consists of being professional, thoughtful, with honed sales skills and a
high degree of integrity. He is perseverant and provides stability to the CRl\/l East team. He is
consistent in communicating his brand through his daily actions and activities”.

l4. In FYl3, l\/Ir. Serabian was recognized by his manager as being “a consummate
sales professional in every sense of the word”, “THE go to CRl\/l sales professional” for both
CRl\/I OnPremise and Cloud for Customer solution sales”, and “a ‘textbook’ example of integrity
in the SAP Sales Organization”.

15. Mr. Serabian’s performance reviews referenced above reflect in writing the multi-
millions of dollars he was attributed to generating for the relevant periods covered by the
reviews

16. While employed at SAP, l\/Ir. Serabian’s compensation was defined by annual
sales plans that augmented his base salary with incentive based compensation

l7. For FYl l, although Mr. Serabian was hired with a $l 50,00() variable pay
incentive, SAP began paying him on a $140,000 variable incentive until his actionsthrough HR
had this corrected in July of that year. Thus, there were two compensation plans for FYll with
the associated commission rates

18. For FYlZ, there was a territory alignment in FY12 after Ql and as such there are
two compensation plans for FY12 with the associated commission rates

l9. For FYlS, although Mr. Serabian had made several requests to obtain his sales

compensation plan earlier in the year, it was not provided to him until November l, 2013, after

 

Case 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 16 of 36

t <

the majority of the year had passed and the majority of his sales deals had been closed. Mr.
Serabian accepted this compensation plan on November 7, 2013 and his boss approved the plan
on that same day with both activities being completed through SAP’s Incentive Compensation

solution.

20. Yet, there were issues from the beginning with SAP paying Mr. Serabian his
proper commissions

21. In FYl l, Mr. Serabian attained 168% of his sales quota by the end of Q2. He
continued to work diligently for the rest of FYll and added an additional 74% of his sales quota
by year end for a total annual percent of quota of 243%. Including his base salary and MBO’s,
Mr. Serabian earned $436,496 of total compensation of which $326,496 was variable sales
compensation, of which $42,213 was tied to MBG and SPIFF achievements Yet, in February of
2012, Mr. Serabian was contacted by his management and told that they would not be paying
him 28.6% of his total FYll variable sales compensation which equated to $93,378. Mr.
Serabian was informed simply that there was apparently no longer enough money in the larger
commission pool to pay all of the sales commissions due.

22. In FY12, Mr. Serabian’s sales compensation plan indicated that he would be paid
a $5,000 bonus for quota attainment in 2 out of the 4 quarters of the year and an additional
$25,000 for quota attainment in 3 out of 4 quarters of the year. Mr. Serabian had sold over his
quota for FYl2 in quarters 1, 3 and 4. A large part of the 4th quarter quota attainment was tied to
a transaction at a particular, maj or client where Mr. Serabian successfully sold/booked a partner
product sale in the amount of $1,087,5()0. SAP only credited Mr. Serabian sales quota credit of
$931,474 because a credit for a non-CRM license type conversion that the customer already

owned was incorrectly applied to the dollar value of Mr. Serabian’s sale reducing his quota credit

 

Case 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 17 of 36
/
t t

by $156,026. As a result, SAP Incentive Compensation had stated that they would not be paying
Mr. Serabian’s additional FY12 $25,()0() linearity bonus as well as the corresponding $6,085
sales commission that was associated with the reduction in sales quota credit.

23. Mr. Serabian brought this to the attention of his sales management A
compensation exception was put forth to SAP Incentive Compensation and was not approved
Mr. Serabian had to have numerous conversations with SAP Sales Operations indicating this
error. Subsequently, SAP paid Mr. Serabian his $25,000 linearity bonus which indicated that
SAP incorrectly assigned quota credit on the deal, but they never paid the outstanding $6,085
sales commission

24. In l\/Iay of FY13, a major client had told SAP that they were electing to buy a
competitor’s CRl\/I over SAP’s OnPremise CRl\/l solution which the SAP Sales Core team had
positioned As part of SAP’s CRM SWAT Team responsible for this account, l\/lr. Serabian
diligently worked to reverse this decision and sell the client a hybrid CRM deployment that
involved both SAP’s Cloud based CRl\/l as well as SAP OnPremise CRl\/l software Mr.
Serabian was key in developing the rationale behind why this hybrid solution was better than the
competitor’s offering He was also responsible for the articulation of this rational to the client as
well as working to obtain pricing approvals from high level executives at SAP given that this
was the largest transaction of its type at the time.

25. As a result of Mr. Serabian’s efforts that CRl\/l deal was signed/closed on
September 27, 2013. There was a 60-day out clause granted in the deal, but the maj or client did
not elect to exercise this out clause and the deal became bookable on November 27, 2013. In
total, this 5-year SAP Cloud based CRl\/l contract amounted to an annual contract value of

$2,895,763 with a total 5 year contract value of $14,478,815. The SAP OnPremise CRM portion

 

Case 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 18 of 36
/ f _

t , (
of the deal was an additional $12,500,000. Although l\/lr. Serabian had a mutually signed FYl?)
sales compensation plan, at that time SAP did not indicate the amount that he would be paid and
when.

26. During a meeting in August of FYlS, the then SAP VP of CRl\/l Sales (Joe Fuster)
stated in a national meeting of CRl\/l Account Executives that SAP’s sales of their OnPremise
CRl\/l solutions and associated partner products had fallen off dramatically SAP executive
management had attributed this to the fact that Mr. Fuster’s sales team was not focused on
selling these solutions in FY13 because sales compensation plans did not include sales
commissions for this type of software, but were rather Cloud based. l\/lr. Fuster further stated
that for the 2nd half of FY13, a 2% SPIFF would be paid to all SAP CRl\/l Cloud Account
Executives who participated in and helped close deals that had SAP OnPremise CRM solutions
in them. As a result of this change, SAP Sales Management provided SAP CRl\/l OnPremise
pipeline reports for the remainder of FY13 to all CRl\/l Cloud Account Executives, including Mr.
Serabian, so as to provide visibility to SAP CRM OnPremise deals for them to focus their selling
' efforts around. Given the 2% SPIFF, moving forward Mr. Serabian focused his sales efforts on
selling both SAP’s Cloud and OnPremise based CRl\/l softwarey

27. In October 2013, another SAP client purchased $903,000 of SAP’s OnPremise
CRl\/I Solution Sales Conflgurator. l\/Ir. Serabian had worked on this opportunity in FYl?)
resulting in a significant strategic win for SAP. Mr. Serabian was recognized as participating in
and helping to close this successful sales outcome by SAP Sales Management. Yet, SAP
Incentive Compensation did not indicate the amount that Mr. Serabian would be paid according

to the sales SPIFF and when.'

 

Case 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 19 of 36
f t
L {./

28. SAP acquired Hybris in a business deal, and subsequent to the Hybris acquisition
in the fall of FYl3 SAP Sales Compensation offered a $SK SPIFF to SAP CRl\/I AE’s who were
involved in helping close any Hybris sales transactions l\/lr. Serabian was involved and helped
successfully close a Hybris Transaction in November of 2013. Yet, SAP Incentive
Compensation did not indicate the amount that Mr. Serabian would be paid according to the sales
SPIFF and when

29. Because SAP did not have Mr. Serabian’ s sales compensation plan in place until
November l, 2013, SAP withheld any payment of sales commissions associated with FY13 until
September 15 of that year. Although SAP Incentive Compensation made an additional sales
commission payment on or around November 30, it was not in accordance with Mr. Serabian’s
FY13 sales compensation plan

30. In November 2013, Mr. Serabian noticed that SAP’s FY13 Ql-Q3 commission
payments did not map to his sales compensation plan as well as the FY13 sales SPIFFS that a
number of his deals had qualified for. Mr. Serabian began working with SAP Incentive
Compensation and SAP HR in earnest in November 2013 to rectify this situation l\/Ir. Serabian
requested additional clarification in February 2014 on how his FY13 Q4 sales commissions and
SPIFFS would be handled which now included the particular maj or client transaction Although
SAP made two additional FY13 sales commission payments to Mr. Serabian in March of 2014,
they still did not match what he was owed as per his approved FY13 sales compensation plan

31. l\/Ir. Serabian requested additional clarification in February 2014 on how his FYl3
Q4 sales commissions would be handled. These conversations continued through April of 2014
without success In May 2014, Mr. Serabian began working with l\/Is. Christine Freese, the VP

of SAP Cloud Sales Compensation lt took Mr. Serabian until the end of June 2014 to get Ms.

 

Case 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 20 of 36

t f

Freese to agree to provide a breakdown of Mr. Serabian’s FY13 sales compensation (although at
that specific time she did not provide that breakdown).

32. On August 22, 2014, Mr. Serabian contacted l\/Is. Freese_’s supervisor, Ryan Tobin
(the COO of SAP’Cloud Operations) asking him if he could help address Mr. Serabian’s FY13
compensation issues Finally, after repeated further efforts, on September 19, 2014, l\/lr.
Serabian did have a phone call with Ms. Feese, Mr. Tobin and Mr. Poon a sales compensation
specialist who worked for l\/ls. Freese. In that call, they agreed that l\/ls. Freese would supply Mr.
Serabian with the details of his FYl3 commissions and a payment plan for all outstanding
commissions On that same day, l\/Ir. Serabian did receive an email from Ms. Freese with an
attached spreadsheet confirming all of his earned FYl3 commissions in accordance to his FY13
sales plan She had forwarded this email to Mr. Tobin for review and approval to pay Mr.
Serabian On that same day, Mr. Tobin notified l\/ls. Freese by email that these payments were
correct and payable to Mr. Serabian At that time, Mr. Serabian did not receive an associated
payment plan from l\/ls. Freese.

33. For approximately the next month, Mr. Serabian continued to request the outline
of the payment plan for his outstanding FY13 commissions Although Mr. Serabian was paid
$57,684 on October 15, 2014 (for the SPIFFS on certain transactions), he did not receive a
payment plan for the rest of the commissions that were due. Mr. Serabian continued his request
to SAP Cloud Compensation and SAP HR and received no reply from them.

34. On October 21 , 2014 l\/Ir. Serabian was told by his manager l\/ls. Cindy Roberto
and his HR representative Mr. Tom Casey that his position was terminated On October 27,
2014, Ms. Freese did email Mr. Serabian and state that he would be paid on the SAP CRM Cloud

portion of the client deal specifying an amount and payment plan The amount specified was

10

 

Case 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 21 of 36

t t

much lower than the agreed to amount previously communicated to Mr. Serabian by Ms. Freese
and approved by Mr. Tobin and did not include the 2% sales compensation SPIFF for the SAP
OnPremise CRM software that was sold in the same deal.

35 . As part of the termination process, Mr. Serabian requested that his HR person
(Tom Casey who was copied on all emails that l\/Ir. Serabian sent requesting resolution to his
unpaid commissions) summarize the amount and payment plan for his outstanding sales
compensation Mr. Casey responded only with information about Mr. Serabian’ s severance
package and unused vacation

36. Mr. Serabian did seek to remain employed at SAP and also resolve his unpaid 7
compensation issue. He spent considerable time during his last month of employment looking for
another position at SAP to move into. Mr. Serabian was unable to find a position, as SAP was
under a hiring freeze at that time and any hire would have to be made on an exception process
Mr. Serabian’s HR representative Tom Casey informed Mr. Serabian that the SAP board of
Directors was presently not approving any hiring exceptions that point in time, and Mr. Serabian
was processed out of SAP on November 21 , 2014 without a resolution to his outstanding FY13
sales commissions

37. On December 15, 2014, Mr. Serabian was subsequently paid $l 17,869 towards
his outstanding FY13 sales compensation from SAP.

38. As per Ms. Freese email dated September 19, 2014 and in accordance with Mr.
' Serabian’s FY13 sales compensation plan, SAP calculated that Mr. Serabian earned $57,684 in
SPIFFS and an additional $928,082 in SAP Cloud CRl\/l sales commissions ln addition to that,
Mr. Serabian is owed $250,000 for the 2% SPIFF on the SAP OnPremise portion of the 2013

major client sales transaction ln total, in FY13 Mr. Serabian made $1,235,766 in sales

ll

 

CaS€ 1216-CV-10501-D.]C .DOCUm€nt 5 Filed 03/17/16 Page 22 Of 36

(' t

compensation above his base pay. To date, SAP has only paid Mr. Serabian $420,526 towards
this total. Thus, SAP still owes Mr. Serabian $815,240 in outstanding FY13 sales commissions

39. Every year, SAP HR requests feedback from 35% (randomly chosen) of its global
employees on how to improve the services that they provide. On July 29, 2014, Mr. Serabian
was notified that he was randomly chosen as a participant for the survey and asked to complete
the survey. On July 28th, l\/lr. Serabian gave his candid feedback, rating the compensation area
the lowest rating along with his justification to do so based on SAP’s failure to pay his FYl3
sales compensation

40. As noted above, Mr. Serabian was notified he was being terminated on October
21, 2014. On that day, Mr. Serabian was asked to attend a conference call by his present SAP
sales manager Cindy Roberto, On that call, l\/Is. Roberto along with Mr. Serabian’s SAP HR
specialist Tom Casey informed Mr. Serabian that his current sales position at SAP had been
eliminated Ms. Roberto indicated that Mr. Serabian would be processed out of SAP on
November 21, 2014 if he could not find another position within the company. When asked, l\/Ir.
Casey indicated that this was not related to Mr. Serabian’s performance at SAP (and given Mr.
Serabian’s outstanding sales achievements it could not have been). On this phone call, Mr.
Serabian asked how his unpaid FY13 sales compensation would he handled and Mr. Casey
indicated that SAP had done so by recently paying him $57,684 (however, this was the SPIFFS
payment). l\/Ir. Casey further stated that SAP would itemize any FY14 sales commissions along
with unused vacation time and a severance payment as part of Mr. Serabian’ s termination
process Mr. Roberto closed the call by letting Mr. Serabian know that he would receive an

email from HR detailing the termination process and on October 22, 2014. Mr. Serabian

received this email.

12

 

Case 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 23 of 36

t t

41. SAP provided Mr. Serabian with his severance package on November 25, 2014.
Given his unresolved commissions and the terms of the release of claims in l\/lr. Serabian’s
severance package, l\/Ir. Serabian elected not to sign the severance package

42. As set forth in the Introduction above, which is incorporated by reference herein,
Mr. Serabian was not paid $117,869 this past November/December despite prior confirmation
from SAP in writing that this money would be paid to him as of November 26, 2015.

43. Through his diligent efforts and reputation in CRl\/l Sales, l\/lr. Serabian obtained
new employment subsequent to his wrongful termination from SAP on l\/larch 23, 2015, although
he continues to suffer damages until his compensation reaches the levels he achieved at SAP.

CAUSES OF ACTION

COUNT I: FAILURE TO PAY WAGES PURSUAN'I` TO G.L. c. 149, § 148

44. l\/lr. Serabian earned commissions that, pursuant to his sales commission plans
were definitely determined and due and payable and, thus, constituted wages und General Laws
Chapter 149, Section 148.

45. Mr. Serabian was not paid these wages

46. Pursuant to General Laws Chapter 149, Section 150, SAP should be ordered to
pay l\/Ir. Serabian these wages, in an amount to be determined at trial, trebled, and with statutory

interest, trebled, as well as Mr. Serabian’s reasonable attorneys’ fees and costs of suit.

COUN'I` II: BREACH OF CONTRACT

47. SAP’s failure to pay Mr. Serabian his commissions owed constitutes a breach of

contract.

48. Mr. Serabian should be awarded those unpaid commissions in an amount to be

determined at trial, with statutory interest, and costs of suit.

13

 

Case 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 24 of 36

t t

COUNT III: BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR
DEALING

49. SAP selected Mr. Serabian for lay-off in order to attempt to avoid paying him
commissions due to him as established by his approved sales compensation plans and further
approved by email by SAP Executive Management; in particular, the commission due to him on
the maj or client deal. This termination was a termination in breach of the implied covenant of
good faith and fair dealing which forbids termination of an at-will employee in order to deprive
the employee of earned compensation

50. j Notably, the severance package offered to Mr. Serabian seeks his waiver of any
commissions not payable to him within 90-days of his termination This would have included
money SAP promised to pay Mr. Serabian in a second installment for the maj or client deal in
November 2015. While Mr. Serabian refused to sign that document, the document shows SAP’s
motivation to deprive Mr. Serabian of this part of the maj or clientcommission SAP agreed it
owed him.

51. Mr. Serabian should be awarded damages in an amount to be determined at trial,

plus interest and costs of suit for this wrongful termination

COUNT IV: UNJUST ENRICHMENT
52. SAP was unjustly enriched, in reaping unfair benefit through the violations
described above render it liable to Mr. Serabian under the common law doctrines of unjust
enrichment/ quantum meruit. As a result, Mr. Serabian should be awarded damages in an

amount to be determined at trial, plus interest and costs of suit as a result of the unjust

enrichment to SAP.

14

 

Case 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 25 of 36

t t

COUNT IV: RETALIATORY TERMINATION IN VIOLATION OF G.L. c. 149, § 148A
53. SAP selected Mr. Serabian for lay-off within a short period of time of his repeated
complaints to be paid substantial commissions due and payable to him. Such decision was
motivated in whole or in part by Mr. Serabian’s complaints about not being paid his
commissions due to him and his raising issues and pursuing these commissions due to him.
54. Pursuant to General Laws Chapter 149, Section 150, Mr. Serabian should be
awarded damages arising out of his termination, in an amount to be determined at trial, including

any lost pay, treble damages statutory interest, reasonable attorneys’ fees and costs of suit.
DEMAND FOR JURY TRIAL
Mr. Serabian hereby seeks a trial by jury on his claims
PRAYER FOR RELIEF

WHEREFORE, for the reasons above, this Court should enter judgment for Mr. Serabian,

awarding him:
A. Unpaid commissions

B. Statutory interest.

C. Lost pay.
D. Trebling of his unpaid commissions interest and lost pay.
E. Reasonable attorneys’ fees

F. Costs of suit.

15

 

C;\Se 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 26 of 36

(\

` G. Such other and further relief as this Court deems necessary and proper.

By the attorneys for Mr. Serabian (Plaintiff),

 

 

Philip J. Gordon (BBO #630989)
Kristen M. Hurley (BBO #658237)
GoRDoN LAW GRoUP LLP

585 Boylston Street

Boston, l\/lassachusetts 02116
(617) 536-1800

16

 

Case 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 27 of 36
(/ <
GoRDoN LAw GRoUP, LLP

CoUNsELoRs Ar LAw

585 Boylston Street

Boston, MA 02116

Ph: 617-536-1800

Fax: 617-536-1802 From the desk of:

Kristen M. Hurley, Esq.
khurley@gordonllp,com

January 22, 2016
Civil Clerk’s Office
Middlesex Superior Court

200 TradeCenter
Woburn, MA 01801

Re: Steven Serabian v. SAP America, Inc.
Middlesex Superior Court, Civil Action No.:

Dear Sir/Madame:

Enclosed please find:
l. Civil Action Cover Sheet;
2. Plaintiff’s Complaint;

3. A check in the amount of $280.00 payable to the “l\/liddlesex Superior Court”,
which constitutes your filing fee and the cost of one (1) summons; and

4. Plaintiff’ s Return Envelope for the Summonses

Kindly docket and file the same in your usual manner and return the summons to me in
the enclosed self-addressed stamped envelope.

Thank you for your cooperation

Very truly yours

Kli/i/i/t\ hile i»i“-(M~/\
Kristen M. Hurleyz
Enclosures

 

Case 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 28 of 36
r' l

 

DOCKET NUMBER '
C|V“_ TRACK|NG oRDER V_ t Trial Court of Massachusetts_

(sTANDlNe oRDER 1- as) ` 1'681CV°0198 The Superior Court

 

   

 

CASE NAME:

l\/lichae| A. Sulllvan, Clerk of Court
Serabian, Steven vs. SAP Amrica, lnc.

l\/lidd|esex County

 

TO: File Copy couRT NAME a ADDREss

l\/liddlesex County Superior Court - Woburn
200 Trade Center

Woburn, MA 01801

 

 

TRACK|NG ORDER - F - Fast Track
You are hereby notified that this case is on the track referenced above as per Superior Court Standing
Order 1-88. The order requires that the various stages of litigation described below must be completed not later
` than the deadlines indicated

STAGES OF LIT|GAT|ON DEADL|NE

 

 

" 1 SERVED'BY F|LED BY ‘ HEARD BY

 

 

 

 

 

Service of.process made and,returnfiled with.the Court-..v"' : _ . ` '.1;-.\).04/25"/2016 .,
- -:-`:.;_Res'_pons-Ej,'e';to'the'complaintfiled (als`o'see"'l\/lRCP,12); - ' v :\.~:D5/25/201'36:-~~
fir/illmotidns,uncler.l\/lRCP»iz,f19-,_'and 20 ;`.;05/25/2016§'-7 106/24/~20.16.::":. 07/25/2016
.~_-;»:A\lmoticins`underl\/lRCPiS_ ~ l _=05/25/2t)161,f1?% =":06/2"4/2016“ i07'/2`5/2016 w

 

 

 

All discovery requests and.deposltlons served and non-experts 111 1 1/21/2016 1

 

 

 

 

'despositions completed -`
All motions under l\/lRCP 56 `. " - ` 1.2/21/2016 01/20/2017
Final pre-trial conference held and/or firm trial date set d 05/22/2017
Case shall be resolved and judgment shall issue by 01/25/2018

 

 

 

The final pre-trial deadline is not the scheduled date of the conference You will be notified of that date at a later time.

Counsel for plaintiff must serve this tracking order on defendant before the deadline for filing return of service.

This case is assigned to

 

 

DATE lSSUED AsslsrANT cl_ERK PHONE

 

 

01/26/2016 . D-aSRobertsTy'er v b ' ._ <781>9392772 ~

 

uawmePnhled;oilzs-ao1s1o;44:oo _ ' ` ' ` . » f ` sc\/ozs\11/zo14'

   

 

Case 1: - - - `
16 cv 10501 D.]C Document 5?,§,1Led 03/17/16 Page 29 of 36

 

 

 

 

          
   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CN“_ ACT|ON CC}VER SHEET DOCKET NUMBER Trial Cour( f Massachusetts
! __¢l The Superior Court
P'LA\NT\FF(s)~. eleven seaman C°UNTY
l\/liddlesex
ADDRESS'. 5 Gerald Circle, Acton, MA
DEFENDANT(S)! SAP America, il'\C.
A`ITORNEY'. Philip J. GOrdOn
ADDRESSZ Gordon Law Group, LLP, 585 Boylston St., Boston, MA 02116 ADDRESS'- 3999 West Chesier Pike, Newtown Squarel PA 19073 and
15 Wayside Road, Burlington, lVlA
BBO‘. 630989
TYPE OF ACT|ON AND TRACK DES|GNAT|ON (see reverse side)
CODE NO. TYPE OF ACT|ON (specify) TRACK HAS A JURY CLA|M BEEN MADE'?
A99 Violation of the l\/lassachusetts Wage Act F YES m NO

 

*lf "Other" please describe:

 

 

STATEMENT OF DAMAGES PURSUANT TO G.L. c. 212, § 3A

 

    
  
     
 
 
 
 

   

 

 

 

 

 

 

 

 

 

 

 

 
  
  
 

 

The following is a full, itemized and detailed statement of the facts on Which the undersigned plaintiff or plaintiff counsel relies to determine money damages For
this form, disregard double or treble damage claims; indicate single damages only.
TORT CLA|MS
(attach additional sheets as necessary)
A. Documented medical expenses to date: f F l L E D' w"i
1. Total hospital expenses .......................................................... § ........ _....m:fHE.@p;:,gE @F.“.E ............ l ....................................... $ __’_-_-
2. Total doctor expenses .......... ),CLRI:<T,,¢`U~',CGURTB ........ " $ _________
3. Total chiropractic expenses ............. '_ _. M.ESEX.. . ...... $ ______-
4. Total physical therapy expenses ................................ i" ......................... `.’. ............... . $ ____._
5. Total other expenses (describe below) ............................................... $
q $ __n
_ t
B. Documented lost wages and compensation to date .............................. i..-. ...... ' . v . 7 5 . $ __',
C. Documented property damages to dated ......................... . ............... i...... . ' $ ____,_
D. Reasonably anticipated future medical and hospital expenses ......... $ _____._
E. Reasonably anticipated lost wages ............................................ $
F. Other documented items of damages (describe below) .................................................... $ _______

G. Briefly describe plaintiffs injury, including the nature and extent of injury'.

TOTAL (A-F):$

CONTRACT CLAIMS
(attach additional sheets as necessary)
Provide a detailed description of claims(s)'. 1 AT Liif\$'i’
The Defendant has failed to pay the Plaintiff wages which are due and owing. TOTAL¢ $ 25.000

  

Signature of AttorneylPro Se Plaintiff: X §§ . ..:,.\_;WL_(= b Date: 1l22l2016

FLATED ACT|ONS: Please provide the case number, case name, and county of any related actions pending in the Superior Court.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CERT|FICAT|ON PURSUANT TO SJC RULE 1:18
l hereby certify that l have complied with requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution (SJC
Rule 1:18) requiring that l provide my clients with information about court-connected dispute resolution services and discuss with them the
advantages and disadvantages of the various methods of dispute resolution.

 

 

 

 

 

 

 

 

 

 

  

13';gnature of Attorney of Record: X §:E:g§, :> Date: 1I22I2016

 

 

Case 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 30 of 36
§ _/ f

-COMMONWEALTH OF MASSACHUSETTS

 

MIDDLESEX, ss SUPERIOR COURT
STEVEN SERABIAN,

Plaintiff, _
v. CIVIL ACTI.GN: l681-CV-00198

SAP AMERICA, INC.,
Defendant

 

 

NOTICE OF APPEARANCE
Kindly enter my appearance on behalf of the Defend.ant, SAP America, Inc. in the above-

captioned matter

DATED: February 26, 2016 , Respectfully submitted, _

SAP AMER].CA, lNC.,
By its attorneys,

  

. Duane Morris LL.P
100 High Street, Suite 2400
Boston, MA 02‘110
(857) 488-4200 (phone)
' §(857) 4`88-4201 (fax)
JLl\/likels@duanemorris.com

CERTIFICATE OF SERVICE

l hereby certify that on February 26, 2016, the foregoing document Was served by first
class mail postage prepaid, upon the party of record as follows:

Kristin M. Hurley, Esq.
Gord.on Law Group, LLP
585 Boylsto-n Street

BOStOn,MA 02116 A?Mj/ %f/:gf§

/}/Yrmifer ;/l\/Hl<els f l n

1/

 

Case 1:16-cv-10501-D.]C Docum/ent 5 Filed 03/17/16 Page 31 of 36
<' ‘/ f

COMMONWEALTH OF MASSACHUSETTS

 

MIDDLESEX, ss SUPERIOR COURT
STEVEN SERABIAN, `

Plaintiff, _
v. CIVIL ACTION: 1681-CV-00198

SAP AMERICA, INC.,
Defendant

 

 

NOTICE OF APPEARANCE

Kindly enter rny appearance on behalf of the Defendant, SAP America, Inc. in the above-

captioned matter.

 

` iNTHE gFFlCEOFT§‘iE §
_ CLE§Z‘§§ QFC OURTS §
DATED: February 26 2016, _ Respectfully submitted, § `F“J“ T' W §
§ FEB §§ §§§£ `
§
sAP AMERICA, INC., §

By its attorneys,

§§ "“`J go

Broni€ryn L Rd'berts (#638079)
Duane Morris LLP

100 High Street, Suite 2400
Boston, MA l02110

(857) 48 8-4200 (phone)

(857_) 488-4201,(fax)
blroberts@duanemorris.corn

CERTIFICATE OF SERVICE

I hereby certify that on February 26, 2016, the foregoing document Was served by first
class mail postage prepaid, upon the party of record as follows:

Kristin M. Hurley, Esq.
Gordon Law Group, LLP
585 Boylston Street
Boston, MA 021'16 ` jj §§
f ja 1/“§ (_»
B§or‘ijwyn L. R€')'berts

 

Case 1:16-cv-10501-D.]C Document5 Filed 03/17/16 Page 32 of36
1 :i) _ k15

COMMONWEALTH OF MASSACHUSETTS

 

MIDDLESEX, Ss sUPERIoR COURT
STEVEN sEMBIAN
Plaintiff, ' M"’~~~»_.m wm
C1v11A011011 N<> 1681 C -0019§'n111 011-11501 111 m""‘;€
V_ FOR THE 5§£21\10': .._,Y §§:gi{j`l`k] 5 i"
--1'.`)1.1.5;\',-‘5)5 '
' l
sAP soFTWARE sorUTloNs, 1NC. 1 1
Defendant._ l

 

 

 

 

AFFIDAVIT OF SERVICE OF KRISTEN M. HURLEY

I, Kristen M. Hurley, under oath hereby depose and State as follows:

l. l am an attorney licensed to practice law in the Comrnonwealth of l\/lassachusetts.
l do so With the firm of Gordon Law Group, LLP.

2. l represent the Plaintiff 1n the above-captioned matter.

3. On or about February 3, 2016, counsel for the Defendant, Bronwyn L Roberts Esq. .,
agreed to accept service on behalf of the Defendant

4. On or about February l2, 2016, l served a copy of the Civil Action Cover Sheet, Civil
Complaint and Tracking Order on Attorney Roberts via electronic mail.

Signed under the penalties of perjury this 17th day of February, 2016.
l
1111 » 511/51
Kristen M. Hurley 1/
Certificate of Service _

I, Kristen M. Hurley, attorney for the plaintiff in the above-captioned action, hereby
certify that I served a true and accurate copy of the foregoing document upon counsel for the

defendants, Bron_wyn L. Roberts, Esq., Duane Morris, 100 High Street, Suite 2400, Boston, MA
02110, via federal express on February 17, 2016.

i/W»i\m hi\ i;ig't/\/iv,a

Kristen M. Hurley 11

 

CaS€ 1216-CV-10501-D.]C DO"C mem 5 Filed 03/17/16 Page 33 Of 36

5 1 5

COMMONWEALTH OF MASSACHUSETTS

 

MIDDLESEX, ss SUPERIOR COURT
STEVEN SERABIAN,

Plaintiff,
v. CIVIL ACTION: 2016-CV-00198

SAP AMERICA, INC.,
Defendant.

 

 

STIPULATION OF EXTENSION OF TIME TO
FI.LE ANSWER OR RE SPO'NSIVE PLEADING

NOW COMES the Plaintiff, Steven Serabian (“Serabian”), and the Defendant, SAP
America, lnc. (“SAP”), by and through their undersigned attorneys, and stipulate and agree that

SAP Will have up to and including Thursday, l\/larch 17, 2016 to file its Answer, counterclaims

 

and/or res onsive leadin s to the Serabian’s Com laint. _
" ~ ~$Y§:DOFTHE
1§§555€:9':'§€:§¢111111"3

\¥FS_=P;?

..”' -~Q"
FSRTH, -=5

FEB 5 53 2535§1

 

 

 

 

 

STEVEN SERABIAN, SAP AMERICA, INC.,

By his attorney, 1 BY 553 attom@YS» jjij
div " § ;:L')`” JJV; ij , l//]i\"/L b:\;` l 1 n Mfi/ y’? N‘( <

P11111p 1 G01d0115(BBo#6309§95) 55,1131111’1165511 L 121111@113 (BBo #638079)
Kristin l\/l Hurley (BBO #658237)" iz;/U: M__“ Jennifer L. Mikels (BBO #682199)
Gordon Law Group, LLP ’)}L Duane Morris LLP

585 Boylston Street 100 High' Street, Suite 2400

Boston, MA 02116 Boston, l\/lA 02110

(617) 536-1800 (phone) (857) 488-4200 (phone) _

Fax: 617-536-1802 (fax) (857) 488-4201 (fax)
pgordon@gordonllp.com blroberts@duaneniorris.corn
khurley@gordonllp.corn ilmikes@duanernorris.com

 

DATED: February 26, 2016

 

Case 1:16-cv-10501-D.]C Document 5 Filed 03/17/16 Page 34 of 36

51 . 15

CERTIFICATE OF SERVICE

l hereby certify that on February 26, 2016, the foregoing document was served by first
class mail postage prepaid, upon the party of record as follows:

Kristin M. Hurley, Esq.
Gordon Law Group, LLP
585 Boylston Street
Boston, MA 02116 ' va _ 57
J;!:`f} 1¢\~1¢? /

'_r.j . ‘s"“ 7
BroniN‘/n L.;;‘§§oberts_”`”““~
DM2\656022 l .l 1 '

 

CaS-1:16-c\/- 10501- D.]C Document 5 Filed 03/17/16 Page 35 of 36
', OMMONWEALTH OF MASSACHuSETTS

  

CRTR2709-CR

 

MIDDLESEX COUNTY ( `
Docket Report
1681CV00281
Menieri, Joseph vs. Wel|s Fargo Bank,N.A.
CASE TYPE: Equitab|e Remedies FILE DATE: 02/01/2016
ACT|ON CODE: D99 CASE TRACK: F - Fast Track
DESCR|PT|ON: OtherEquityAction
CASE DlSPOS|T|ON DATE 03/15/2016 CASE STATUS: Closed
CASE D|SPOS|T|ON; Transferred to another Court STATUS DATE ; 03/15/2016
CASE JUDGE: CASE SESS|ON: Civil C Rm 610

 

 

 

 

 

 

 

 

 

 

 

 

Plaintiff Attorney 666431
Menieri, Joseph David Zak .

54 Hurlcroft Ave. Zak Law Offices PC

l\/|edford, lV|A 02153 Zak Law Offices PC

54 Yeamans Street

Revere, lV|A 02151

Work Phone (617) 817-4582
Added Date: 02/01/2016

Defendant

We||s Fargo Bank,N.A.
400 |Vlontgomery St.

San Francisco, CA 94104

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

WNCIALDEWALLS

Date Feeleines/Costs Assessed Paid Dismissed Balance
02/01/2016 Fee for Blank Summons or Writ 5.00 5.00 0.00 0.00

(except Writ of Habeas Corpus) MGL

262 sec 4b
61/61}£6166 6666161.`1“3`11116111611@"(6.[1616§"§1 1161 __________ 1160 _________ 1 1166 _________ 6 6666666""666666
61/661}26616 61161-1111116961911616(111111>16161111> _____________ 116-66 ******** 2 1666 _________ 6 6666666*6#666666`
61/661}266166 4 1 _6161116§1111161.111111-1661.6662“66£ ’§_1116\1 ******** 66666 6 6 1 ` 6 _ 6 6266666 66666666 6 666 6 6 6 ` 6 1 6 6 666
666666666666666666666 151116“"66666666““"66"1161666"666"6166.6666"6*1”6_66"66666"66666
Deposlt Account(s) Summary Recelved App|led Chécks Pald Balance

 

 

 

 

 

 

 

 

Printed: 03/15/2016 10:56 am Case No: 1681CV00281 Page: 1

 

 

 

 

    
  
 
  

:16-cV-1O5Ol-D.]C Document 5 Filed 03/17/16 Page 36 of 36
EALTH OF MASSACHUSETTS

IDDLESEX COUNTY (
Docket Report 1

CRTR2709-CR

0
o
§
§
o
Z
§§

 

    

 

 

Date l Ref Description l Judge
9§5115_/?91§ ___________ C_ Q~°'_e_ t_r§‘[‘§f_e_r 599,591§'12"51?[ 995"_"; ______________________________________________
03/15/2016 REIV|OVED to the U.S. District Court

Case RE|V|OVED this date to US District Court of |Viassachusetts by
____________________ Q e_f§Dg§[‘t_S_\[\/,e_|l§iF_a_"QQ_B&!"_k_»_N-A-,,_i_______________i,,,iii,__________________

02/01/2016 2 Civil action cover sheet filed.

02/01/2016 Case assigned to:
____________________ Q QM_Tta_Ct<,F, :,F,a§t _Treqk_tv§§~a_d,d~e_d,en 925€!1_/291§_ _ _ _ _ _ _ 1 1 , 1 1 , _ 1 _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
02/01/2016 Appearance entered

 

 

On this date David Zakl Esq. added for Plaintiff Joseph |Vlenieri

 

 

Printed: 03/15/2016 10:56 am Case No: 1681CV00281 Page: 2

 

 

 

 

